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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

 QUAIL CREEK COUNTRY CLUB,
 INC.,

              Plaintiff,

 v.                                                   Case No: 2:20-cv-177-SPC-MRM

 ROCKHILL INSURANCE
 COMPANY,

               Defendant.
                                           /

                                         ORDER 1

        Before the Court is the parties’ Joint Motion to Lift Stay and Reopen

 Case After Appraisal Award. (Doc. 31). Over a year ago, the appraisal award

 was rendered, and Defendant paid the amounts deemed undisputed. The

 parties tried to work out their differences with certain amounts in the

 appraisal award. (Doc. 28). Now, they request the Court reopen the case so

 that “remaining issues of law and fact can be brought before the Court.” But

 they do not identify what those remaining issues are. To fashion the most




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 efficient course of action to bring this matter to resolution, the Court needs

 specific input from the parties.

       Accordingly, it is now

       ORDERED:

       1. The Joint Motion to Lift Stay and Reopen Case After Appraisal Award

          (Doc. 31) is TAKEN UNDER ADVISEMENT.

       2. On or before November 12, 2021, the parties must jointly explain to

          the Court, in detail, what issue(s) remain and how this action should

          proceed if the stay is lifted.

       DONE and ORDERED in Fort Myers, Florida on November 5, 2021.




 Copies: All Parties of Record




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